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ederal Reserve Board

 

February 2, 2004

David Teitelbaum, Esq.

Sidley Austin Brown & Wood LLP
1501 K Street, N.W.

Washington, DC 20005

Dear Mr. Teitelbaum:

This is in response to your letters on behalf of Merrill Lynch Bank USA, Salt Lake City,
Utah ("Merrill Lynch Bank"), regarding the application of section 106 of the Bank Holding
Company Act Amendments of 1970 ("section 106") to certain lending programs offered by

Merrill Lynch Bank and its affiliate, Merrill Lynch Private Finance Inc. ("MLPF").4

Merrill Lynch Bank and MLPF offer securities-based loans--that is, loans collateralized by
securities or other marketable investment assets ("securities")--subject to the requirement
that the securities collateralizing the loans be kept in collateral accounts with their broker-

dealer affiliate, Merrill Lynch, Pierce, Fenner & Smith, Incorporated ("MLPF&S").2
Customers are not charged for establishing or maintaining the collateral accounts or for
transferring securities to the collateral accounts. Customers are not obligated to trade in the
collateral accounts or any other accounts or to purchase any other products or services from
Merrill Lynch Bank, MLPF, MLPF&S, or any of their affiliates. Customers are not required
to maintain any securities in the collateral accounts beyond those necessary, in the credit
judgment of Merrill Lynch Bank or MLPF, as the case may be, to support the credit
extensions. All securities in the collateral accounts are pledged as collateral to support the
securities-based loans extended by Merrill Lynch Bank or MLPF, as the case may be.

Customers must obtain prior approval from Merrill Lynch Bank or MLPF, as appropriate,
before withdrawing assets from the collateral accounts. No fee is charged for effecting such
withdrawals. You have indicated that all withdrawals from the collateral accounts require
prior approval from the lender in order to ensure the safety and soundness of the securities-
based lending programs. You also have stated that the policy of both Merrill Lynch Bank
and MLPF is to grant customer requests to withdraw assets from a collateral account as long
as the lender's collateral requirement would continue to be met after the withdrawal. You
have further represented that the bank and MLPF would deny a request for withdrawal of
excess collateral from a collateral account only in extraordinary circumstances, such as
when a customer requests to withdraw all excess collateral from an account that is
experiencing a precipitous decline in the value of a concentrated position.

The bank and MLPF generally allow customers to trade securities held in the collateral
accounts, and MLPF&S charges customers its standard brokerage fee for any trades made
by customers that involve securities held in the collateral accounts.2 Customers are not
restricted in their ability to maintain brokerage accounts with other securities firms not
affiliated with Merrill Lynch Bank or MLPF.

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For securities-based loans made by Merrill Lynch Bank and MLPF, the customer is required
to ensure that the value of the securities in the collateral account equals or exceeds the
lender's collateral requirement for the loan on an ongoing basis. MLPF&S monitors the
value and composition of the securities in the collateral accounts on at least a daily basis. If
the value of the securities in a collateral account falls below the collateral requirement for
the related loan, the customer will be asked promptly to take steps to resolve the collateral
shortfall--for example by placing additional securities in the account or by paying down the
outstanding loan balance.

Section 106 generally prohibits a bank from conditioning the availability or price of a
product on a requirement that the customer obtain another separate product from, or provide

another separate product to, the bank or an affiliate of the bank 4 For the following reasons,
I believe that securities-based lending programs conducted in the manner described above
and in the bank's correspondence with the Board are permissible under, and consistent with
the purposes of, section 106.

By requiring collateral for a securities-based loan, Merrill Lynch Bank and MLPF are not
requiring that the customer obtain any product separate from the loan itself. A requirement
to provide collateral for a loan generally is an integral part of the loan, and, in this case, the
securities collateral does not represent a separate product distinguishable from the

underlying credit product.2

The fact that the bank and MLPF require the pledged securities to be held in an account at
an affiliate does not make the collateral, or the account, a product separate from the loan that
the collateral secures. The MLPF&S collateral account into which securities-based loan
customers of Merrill Lynch Bank and MLPF must place the securities collateral is simply
the mechanism that the bank and MLPF have chosen for holding the required collateral. The
integral connection between the loan and the collateral account is highlighted by the facts
that, as noted above, (i) the bank or MLPF, as the case may be, has a security interest in all
the securities in the account; (ii) the customer is not required to place any securities in the
account beyond those necessary to satisfy the lender's collateral requirement; and (iii) the

customer is not required to pay a separate fee to establish or maintain the account.®

The fact that borrowers are permitted to hold securities in the collateral account beyond
those minimally required to satisfy the lender's collateral requirement and to trade securities
in the collateral account does not alter my conclusion. Allowing a customer to trade
securities, or to place excess securities, in a collateral account underlying a securities-based
loan enhances customer choice without reducing the integral connection between the loan
and the collateral account. In this regard, you have represented that the customer is allowed
to trade and to deposit excess securities in the account, and is not required to trade or
deposit excess securities. Thus, any trading in the account or placement of excess securities
in the account is voluntary and not the result of a requirement that the customer use, obtain,

or provide any separate product or service to obtain credit from the bank.2

Similarly, my opinion is not affected by the fact that, in the event that the value of the
securities in the collateral account falls below the lender's collateral requirement for the
related loan, the customer must eliminate the collateral shortfall. This requirement is an
integral and ordinary part of securities-based lending, including traditional securities-based
lending by broker-dealers. Moreover, as noted above, the customer is permitted to resolve
the shortfall by, among other things, adding additional securities or cash to the collateral

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account or reducing the outstanding loan balance (neither of which option would require the
customer to purchase brokerage services from MLPF&S). Accordingly, the collateral
maintenance requirement does not require the customer to obtain or provide any separate
product or service in order to obtain credit from the bank.

The text and legislative history of section 106 make manifest that Congress did not intend
the statute to impede the ability of banks to conduct the business of banking in a safe and
sound manner. Congress was aware that banks customarily impose requirements on
borrowers to mitigate the credit risk associated with loans (including restrictions designed to
obtain and protect collateral pledged as security for loans); and Congress included several
exceptions in section 106 to ensure that the statute would not render such normal risk
mitigation practices illegal.8 In this case, the bank and MLPF require their securities-based
loan customers to place the collateral in an account at MLPF&S in order to protect the
financial interest of the bank and MLPF. According to the bank, this collateral requirement,
among other things, assists the bank and MLPF to (i) obtain detailed and timely information
regarding the value of collateral; (ii) ensure that the collateral will be safeguarded and
managed appropriately; and (iii) ensure that instructions with respect to the collateral will be
executed promptly and consistently.

After reviewing all the information provided by Merrill Lynch Bank, I have concluded, for
the reasons stated above, that securities-based lending programs conducted in the manner
described in this letter and in the bank's correspondence with the Board, are permissible

under, and consistent with the purposes of, section 106.2
This opinion is based on the specific facts and representations you have provided, and any
material change in these facts or representations could result in a different conclusion and
should be reported to Board staff. If you have any questions about this matter, please contact
Mark E. Van Der Weide (202/452-2263) or Andrew S. Baer (202/452-2246) of the Board’s
legal staff.

Sincerely,

(signed) J. Virgil Mattingly, Jr.

J. Virgil Mattingly, Jr.
General Counsel

cc: Federal Reserve Bank of New York

 

Footnotes
1. 12 U.S.C. § 1972. Return to text

2. For purposes of the section 106 analysis in this letter, I have assumed that MLPF is a
subsidiary of Merrill Lynch Bank. Currently, MLPF is an affiliate of Merrill Lynch Bank
that the bank intends to acquire and operate as a subsidiary in the near future. Merrill Lynch
Bank plans for MLPF to continue to offer these securities-based loans after the
reorganization. Return to text

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3. For certain securities-based loans currently made by MLPF, customers may not trade
securities held in the collateral accounts without prior approval from MLPF for each trade.
On the other hand, for securities-based loans currently made by Merrill Lynch Bank and for
securities-based loans currently made by MLPF to customers who have retained a
professional money manager to manage their assets, customers may trade securities held in
the collateral accounts without prior approval from the bank or MLPF, as the case may be.
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4,12 U.S.C. § 1972(1)(A)-(D). Return to text

5. See Board's Proposed Interpretation and Supervisory Guidance on Section 106, 68
Federal Register 52024, 52027 (Aug. 29, 2003). Return to text

6. Cf Graue Mill Dev. Corp. v. Colonial Bank & Trust Co. of Chicago, 927 F.2d 988 (7th
Cir. 1991). Return to text

7. The fact that a customer must pay MLPF&S its standard brokerage commission if the
customer decides to effect trades in the collateral account also does not change my opinion
because the customer is not required to trade in the account and trades effected by the
customer in the account generally would be unrelated to the loan. Return to text

8. See 116 Cong. Rec. $15708 (daily ed. Sept. 16, 1970) (Statement of Sen. Bennett).
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9. Nothing in this letter affects the obligations of Merrill Lynch Bank, MLPF, and their
affiliates, or any other lender, to comply with the Board's Regulations T and U (12 C.F.R.
Parts 220 and 221), or alters the manner in which those regulations apply to securities-based
lending. Return to text

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